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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CIN-Q AUTOMOBILES, INC. and MEDICAL &                       )
CHIROPRACTIC CLINIC, INC., individually and as              )
representatives of a class of similarly-situated persons,   )
                                                            )
       Plaintiffs,                                          ) Civil Action No.:
                                                            ) 8:13-CV-01592-AEP
               v.                                           )
                                                            )
BUCCANEERS LIMITED PARTNERSHIP and                          )
JOHN DOES 1-10,                                             )
                                                            )
       Defendants.                                          )

PLAINTIFFS’ APPENDIX OF EXHIBITS TO MOTION FOR CLASS CERTIFICATION

       1.      Deposition of Matthew Kaiser (w/o exhibits)

       2.      BLP Resp. First. Req. Admissions

       3.      Compilation of BLP Documents Produced in Discovery

       4.      Expert Report of Robert Biggerstaff

       5.      Declaration of Robert Biggerstaff

       6.      Supplemental Report of Robert Biggerstaff

       7.      Declaration of Ian Jenkins

       8.      Deposition of Ian Jenkins (w/o exhibits)

       9.      Deposition of Craig Cinque (w/o exhibits)

       10.     Deposition of Michelle Zakrzewski (w/o exhibits)

       11.     Firm Resume of Anderson + Wanca

       12.     Brief Biography of Michael C. Addison

       13.     Proposed Class Notice
